        Case 3:23-cv-00075-TES          Document 35    Filed 10/22/24    Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                               ATHENS DIVISION


DAVID WILSON,

        Plaintiff,

v.                                                     CIVIL ACTION NO.
                                                        3:23-cv-00075-TES
WERNER ENTERPRISES, INC., and,
KELLY WALKER,

        Defendants.


            ORDER STAYING THIS CASE AND ORDERING MEDIATION



        Plaintiff David Wilson filed this personal injury action in the Superior Court of

 Walton County, Georgia, alleging that his vehicle was struck by a tractor-trailer owned

 by Defendant Werner Enterprises, Inc., and operated by Defendant Kelly Walker. See

 [Doc. 1-2]. Defendants timely removed this case to this Court on June 21, 2023, and filed

 their Answers the same day. [Doc. 1]; [Doc. 2]; [Doc. 3]. After the close of discovery,

 Defendants filed several motions, which remain pending. See [Doc. 18]; [Doc. 19]; [Doc.

 27]. Following a hearing on October 7, 2024, the Court determined that mediation

 would be beneficial for all Parties.

        Accordingly, the Court STAYS this action to allow the parties to mediate this

 dispute. The Court ORDERS the Parties to complete mediation no later than

 November 21, 2024, and report the results of the mediation within five days of its
      Case 3:23-cv-00075-TES    Document 35    Filed 10/22/24   Page 2 of 2




conclusion.

      SO ORDERED, this 22nd day of October, 2024.

                                    S/ Tilman E. Self, III
                                    TILMAN E. SELF, III, JUDGE
                                    UNITED STATES DISTRICT COURT




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